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        Telephone: (415) 436-6758
8
     Attorneys for Plaintiff
9
10                              UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,    )                  Criminal No. CR 05-00167 WHA
                                  )
14          Plaintiff,            )
                                  )
15                                )                  STIPULATION AND [PROPOSED]
                                  )                  ORDER EXCLUDING TIME
16       v.                       )
                                  )
17                                )
     REDACTED DEFENDANT NO. 1, et )
18   al., (TERRELL JACKSON),      )
                                  )
19                                )
                                  )
20                                )
            Defendant.            )
21                                )
22
              The above-captioned matter came before the Court on September 13, 2006, for
23
     supplemental hearing on Daubert motions. The defendant, TERRELL JACKSON, who
24
     was present, was represented by Frank McCabe, Esq., and the government was
25
     represented by Philip J. Kearney and Richard J. Cutler, Assistant United States Attorneys,
26
     and Krista Tongring, Department of Justice Trial Attorney. The matter was continued
27
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00167 WHA
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     until October 30, 2006, for status. The Court made a finding on the record that the time
1    between September 13, 2006, and October 30, 2006 should be excluded under the Speedy
2    Trial Act, 18 U.S.C. § 3161(h)(3)(B)(8)(A), because the ends of justice served by taking
3    such action outweighed the best interest of the public and the defendant in a speedy trial.
4    That finding was based both on the Court’s previous ruling declaring the matter complex
5    and the attorneys’ needs to effectively prepare the matter, taking into account the exercise
6    of due diligence. That finding was made pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
7           The parties hereby agree to and request that the case be continued until October 30,
8    2006 at 3:00 p.m. and that an exclusion of time until that date be granted. The parties
9    agree and stipulate that the additional time is appropriate and necessary under Title 18,
10   United States Code, Section 3161(h)(3)(B)(iv), because the ends of justice served by this
11   continuance outweigh the best interest of the public and the defendants in a speedy trial.
12
13   DATED:        9/13/06                            /S/
                                               FRANK MCCABE, ESQ.
14                                             Counsel for DEFENDANT
                                               TERRELL JACKSON
15
16   DATED:        9/13/06                              /S/
                                               PHILIP J. KEARNEY
17                                             Assistant United States Attorney
18
     SO ORDERED.
                                                                      S DISTRICT
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     DATED: September 14, 2006                                   IT IS S
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21                                             WILLIAM H. ALSUP
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                                               UNITED STATES          am Alsu
                                                                  illiDISTRICT  JUDGE
                                                         NO




                                                          Judge W
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     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00167 WHA                              2
